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                             Exhibit 5
Plaintiffs’ Corrected Averment of Jurisdictional Facts and Evidence
      and/or Statement of Facts as to Defendant Al Rajhi Bank
                       Pursuant to Rule 56.1
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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK


 In re Terrorist Attacks on September 11, 2001        03 MDL 1570 (GBD) (SN)
                                                      ECF Case

This document relates to:

Underwriting Members of Lloyd's Syndicate 2, et al. v. Al Rajhi Bank, et al. , No. 16-cv-07853
Addesso, et al. v. Kingdom of Saudi Arabia, et al. , No. 16-cv-09937
Aguilar, et al. v. Kingdom of Saudi Arabia, et al., No. 16-cv-09663
Hodges, et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-00117
Aiken, et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-00450
Charter Oak Fire Insurance Co., et al. v. Al Rajhi Bank, et al., No. 17-cv-02651
Abarca, et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-03887
Arrowood Indemnity Co. , et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-03908
Abedhajajreh, et al. v. Kingdom ofSaudi Arabia, et al., No. 17-cv-06123
Muenchener Rueckversicherungs-Gesellschaft Aktiengesellschaft in Muenchen, et al. v. Kingdom
ofSaudi Arabia, et al. , No. 17-cv-07914
Abbate, et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-08617

                           DECLARATION OF JONATHAN M. WINER

I, Jonathan M. Winer, declare under penalty of perjury pursuant to 28 U.S.C. § 1746:

          1.       I am attorney practicing law in Washington, D.C., specializing in law

enforcement and financial regulatory issues, sanctions, money laundering, terrorist financing,

and matters pertaining to the Middle East, including compliance for Middle Eastern banks.

          2.       I have been retained as an expert witness by Plaintiffs in connection with this

matter.

          3.       I am over the age of eighteen years old and am not a party to this action. I am

personally familiar with the facts set forth herein, unless stated otherwise.

          4.       I make this declaration in support of Plaintiffs' Averment of Jurisdictional Facts

and Evidence and/or Statement of Facts Pursuant to Rule 56.1, in support of Plaintiffs' claims

against Al Rajhi Bank.




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        5.         A true and correct copy of my expert report dated October 4, 2023 is being

submitted in support of Plaintiffs' Averment of Jurisdictional Facts.

        6.         If called as a witness at trial or another proceeding, I will testify under oath as to

the conclusions and support in my expert report.

        I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief.




Dater        I                                                     Jonathan M. Winer




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